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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHERINE MARINARO and WHITNEY
VAN DER DOES,

                       Plaintiffs,                             NOTICE OF
                                                          PRETRIAL CONFERENCE
               -against-
                                                               20 Civ. 6939 (PGG)
CSC GENERATION HOLDINGS, INC.,
OKL HOLDINGS, INC., ONE KINGS
LANE, LLC, and JUSTIN YOSHIMURA in
his individual and professional capacities,

                       Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               There will be a conference on Thursday, January 14 at 10:00 a.m. The

conference will take place by telephone.

               The parties are directed to dial 888-363-4749 to participate, and to enter the

access code 6212642. The press and public may obtain access to the telephone conference by

dialing the same number and using the same access code. The Court is holding multiple

telephone conferences on this date. The parties should call in at the scheduled time and wait on

the line for their case to be called. At that time, the Court will un-mute the parties’ lines. No

later than January 13, 2021, the parties must email Michael_Ruocco@nysd.uscourts.gov and

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the conference so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.


Dated: New York, New York
       January 12, 2021
